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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  KATE GRANT and KARMANN KASTEN,
  LLC,                                                 SECOND AMENDED SCHEDULING
                                                                 ORDER
                 Plaintiffs,

  vs.                                                    Case No. 2:23-cv-00936-AMA-CMR

  KEVIN LONG; MILLCREEK                                      Judge Ann Marie McIff Allen
  COMMERCIAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; BRENT                          Magistrate Judge Cecilia M. Romero
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,

                 Defendants.


        Having reviewed the parties’ Stipulated Motion for Amended Scheduling Order (Motion)

 (ECF 92), and for good cause appearing, the court hereby GRANTS the Motion and ORDERS that

 the following deadlines apply in this case:


            •   Close of fact discovery: March 11, 2025;

            •   Rule 26-(a)(2) expert disclosures (subject and identity of experts) – party(ies)

                bearing burden of proof: March 25, 2025;

            •   Rule 26-(a)(2) expert disclosures (subject and identity of experts) – counter

                disclosures: April 15, 2025;

            •   Rule 26-(a)(2) expert reports – party(ies) bearing burden of proof: April 22, 2025;

            •   Rule 26-(a)(2) expert reports – counter reports: May 21, 2025;

            •   Last day for expert discovery: June 25, 2025;

            •   Deadline for filing dispositive or potentially dispositive motions: July 11, 2025;

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         •   Evaluate case for settlement/ADR: March 11, 2025.

         •   Deadline for filing a request for a scheduling conference with the district judge

             for the purpose of setting a trial date if no dispositive motions are filed: July 18,

             2025; and

         •   If dispositive motions are filed and the district judge’s ruling on those motions

             does not resolve the case, the parties shall file a request for a scheduling

             conference with the district judge for the purpose of setting a trial date no later

             than one week after the ruling on the dispositive motions.



      DATED this 5 December 2024.




                                            Magistrate Judge Cecilia M. Romero
                                            United States District Court for the District of Utah




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